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                                                             U.S. DISTRICT COURT
                                                        NORTHERN DISTRICT OF TEXAS
                                                                  FILED
                  IN THE UNITED STATES DISTRIC          COURf                 1
                       NORTHERN DISTRICT OF TE S              .   I~ 202011    I
                           FORT WORTH DIVISION
                                                          CLERK, U.S. DISTRICl UJRT
MELANIA KATE SWEENEY,                   §
                                                            by ____-=----------
                                        §                            DepUty
                  Plaintiff,            §
                                        §
VS.                                     §   NO. 4:09-CV-lS7-A
                                        §
MICHAEL J. ASTRUE,                      §
COMMISSIONER OF THE SOCIAL              §
SECURITY ADMINISTRATION,                §
                                        §
                  Defendant.            §



                           MEMORANDUM OPINION
                                   and
                                  ORDER

      Before the court for decision is the complaint of plaintiff,

Melania Kate Sweeney, seeking reversal of the denial by

defendant, Michael J. Astrue, Commissioner of the Social Security

Administration,    ("Commissioner") of her application for

Supplemental Security Income disability benefits under Title XVI

of the Social Security Act.          Consistent with the usual practices

of this court, the complaint was referred to the magistrate judge

for proposed findings, conclusions, and a recommendation; and,

the parties were ordered to treat this action as an appeal by

plaintiff from Commissioner's ruling adverse to her.                The

magistrate judge issued his proposed findings and conclusions and

his recommendation ("FC&R") that the Commissioner's decision be
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reversed, and that the matter be remanded for further

proceedings.    After having considered the filings of the parties,

the administrative record, and the FC&R, the court has concluded

that the magistrate judge's recommendation should be rejected and

that the decision of Commissioner should be affirmed.

                                      I.

                       Positions Taken by the Parties,
                                 and the FC&R

A.    Plaintiff's Opening Brief

      In her brief filed with the magistrate judge, plaintiff

defined the issues presented as follows:

      (1)   Plaintiff's mental impairment meets the
            requirements of a listed impairment.

      (2)   The ALJ improperly evaluated the severity of
            Plaintiff's impairments.

      (3)   The ALJ failed to properly consider all of the
            evidence in the record.

      (4)   The ALJ made an improper residual functional
            capacity finding.

      (5)   The ALJ made an improper step five finding.

Pl. 's Br. at 1.

      Plaintiff's argument on the first issue focused on what she

considered to be her mental impairment from major depression,

bipolar disorder, and attention deficit hyperactivity disorder


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("ADHD").     She argued that the ALJ should have determined that

the impairment met the requirements of listed impairment

12.04C.2.    (20 C.F.R. pt. 404, subpt. P, App. I,        §   12.04C.2.).

      The main argument plaintiff made under her second issue was

that the ALJ did not apply the standard articulated in Stone v.

Heckler, 752 F.2d 1099, 1101 (5th Cir. 1985), in determining

which of plaintiff's impairments qualify as severe impairments.

While the ALJ found that plaintiff's bipolar disorder was a

severe impairment, plaintiff argues that the record establishes

as a matter of law that she has two additional conditions that

are severe impairments, severe migraine headaches and ADHD.

Plaintiff contends that it is unclear from the ALJ's opinion

"whether the ALJ did not find her migraine headaches and ADHD

impairments to be severe or if he simply failed to consider them

at all. II   Pl. 's Br. at 12.   In her discussion under the second

issue, plaintiff makes the added contentions that the ALJ failed

properly to analyze the severity of her migraine headaches and

ADHD impairments, with the result that his residual functional

capacity ("RFC") was incomplete.

      Under her third issue, plaintiff argued that the ALJ failed

properly to consider record evidence pertaining to her medication




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side effects and her credibility, thus causing an incomplete RFC

assessment and, ultimately, an incorrect decision.

      In her argument under the fourth issue, plaintiff contended

that the ALJ's RFC determination (particularly his determination

that plaintiff "could interact appropriately with the public,

supervisors, and co-workersi respond appropriately to work

pressures in a usual work settingi respond to changes in routine

work settingi understand, remember, and carry out simple and

detailed job instructionsi and make judgments on simple work-

related decisions," Pl. 's Br. at 14) was incorrect.            According to

plaintiff, medical opinions in the record established that

plaintiff did not have the mental capacity to perform the demands

of the RFC found by the ALJ.

      Under the fifth issue, plaintiff argued that the ALJ erred

in finding that a significant number of jobs existed in the

national economy that plaintiff could perform.

B.    Commissioner's Responsive Brief

      Commissioner took issue with each of plaintiff's arguments.

The Commissioner noted that plaintiff had the burden of proving

her disability by establishing a physical or mental impairment

lasting at least twelve months that prevented her from engaging

in any substantial gainful activity, and that included in that

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burden of proof was the burden to establish, at step three of the

ALJ's analysis, that she meets or equals all of the specified

medical criteria of a particular listing.             Commissioner

maintained that plaintiff failed to prove that she had a

condition that met or equaled all the criteria of listing

12.04C.2.

      Commissioner responded that the ALJ fully evaluated all of

plaintiff's alleged impairments and correctly determined that her

bipolar disorder was her only severe impairment.              And,

Commissioner argued that the ALJ's opinion shows that the ALJ

properly applied the Stone standard in determining which of

plaintiff's conditions constituted severe impairments.

      As to the third issue, Commissioner maintained that the ALJ

considered all record evidence in evaluating plaintiff's claim,

and in the course of doing so properly determined that

plaintiff's subjective complaints were not credible to the extent

alleged.

      Commissioner responded to the fourth issue by pointing to

the parts of the record that constitute substantial evidence

supporting the ALJ's RFC determination.

      Finally, Commissioner responded as to the fifth issue that

substantial evidence supports the ALJ's finding that there are

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jobs that exist in significant numbers in the national economy

that plaintiff can perform.

C.        The FC&R

          The magistrate judge recommended that Commissioner's

decision be reversed, and that the case be remanded for further

proceedings.             He defined the issues to be                    II   [w]hether the ALJ

applied the correct legal standard in determining that

[plaintiff] was not disabled, and whether his determination is

supported by substantial evidence. III                          FC&R at 4.          The FC&R

indicates that the magistrate judge's recommendation for reversal

was based on his proposed findings and conclusions as follows:

               In this case, although the ALJ referred to Stone
          by name in analyzing Sweeney's bipolar disorder, it is
          not clear that he applied the appropriate standard in
          analyzing her migraine headaches or her ADHD.  In fact,
          it is not clear that he gave any consideration
          whatsoever to her headaches or ADHD at step two.   He
          failed to make any conclusions regarding the severity
          of those two impairments or to discuss the effects that
          those two impairments have on her ability to work.
          Stone, 752 F.2d at 1101. Thus, he applied an incorrect
          standard of severity at step two.  See, e.g., Weston v.
          Astrue, 2010 WL 2293273 (N.D. Tex. May 4,2010)
          (Ramirez, J.).

               The failure of the ALJ to apply the correct
          standard to the severity requirement as set forth in
          Stone and his failure to apply Stone's construction of



     lThe magistrate judge failed to mention the other issues plaintiff presented in her brief. See supra at
2.

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      20 C.F.R. § 404.1520(c} is a legal error, and it
      requires that this case be remanded for
      reconsideration. Stone, 752 F.2d 1099. Determinations
      of non-disability "must stand or fall with the reasons
      set forth in the ALJ's decision, as adopted by the
      Appeals Council." Newton v. Apfel, 209 F.3d 448, 455
       (5th Cir. 2000). The ALJ in this case failed to make a
      reviewable Stone analysis of Sweeney's migraine
      headaches or of her ADHD mental impairment. There is
      ample medical evidence that Plaintiff suffered from
      migraine headaches and ADHD. (See, e.g., 126, 148-49,
      181-83, 347-63, 380, 387, 401-02, 414-19, 430-32, 445.)
      Given the low bar for the establishment of a severe
      impairment under Stone, remand is appropriate to allow
      the Commissioner to clarify that the Stone opinion was
      followed and to revisit whether any other of Sweeney's
      impairments should have been included among her severe
      impairments at step two of the ALJ's analysis.

Id. at 10-11.

D.    The Court, Sua Sponte, Has Reviewed the Issues

      Even though no objection was made by either party to the

FC&R, the undersigned nevertheless has the authority, if not the

duty, to make a correct final determination.            See Thomas v. Arn,

474 U.S. 140, 154 (1985) i Mathews v. Weber, 423 U.S. 261, 270-71

(1976) i see also Conwell v. Astrue, No. 4:09-CV-656-A, 2011 WL

1490291, at *1-2 {N.D. Tex. Apr. 18, 2011}.           Because of what

appear on the face of the FC&R to be errors, the undersigned, sua

sponte, has devoted the time and attention necessary to reach

what he considers to be a correct final determination in this

action.


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                                     II.

                                 Analysis

A.    Basic Principles

      A guiding principle is that judicial review of a decision of

Commissioner of nondisability is limited to two inquiries:              (1)

whether Commissioner's decision is supported by substantial

evidence on the record as a whole and (2) whether Commissioner

applied the proper legal standards.          See Anthony v. Sullivan, 954

F.2d 289, 292 (5th Cir. 1992).        Elaborating, the Fifth Circuit

explained in Perez v. Barnhart that:

      Substantial evidence is such relevant evidence as a
      reasonable mind might accept as adequate to support a
      conclusion.  It is more than a mere scintilla and less
      than a preponderance.  In applying the substantial
      evidence standard, the court scrutinizes the record to
      determine whether such evidence is present, but may not
      reweigh the evidence or substitute its judgment for the
      Commissioner's. Conflicts of evidence are for the
      Commissioner, not the courts, to resolve.  If the
      Commissioner's fact findings are supported by
      substantial evidence, they are conclusive.

415 F.3d 457, 461 (5th Cir. 2005)          (internal quotation marks and

citations omitted) .

      Also basic is the claimant's burden of proof, as the Fifth

Circuit reminded in Hames v. Heckler:

      It must be remembered that an individual claiming
      disability insurance benefits under the Social Security
      Act has the burden of proving her disability.  To meet

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      her burden and establish disability under the Act,
      Plaintiff must prove that she is unable to engage in
      any substantial gainful activity.  Plaintiff must also
      establish a physical impairment lasting at least twelve
      months that prevents her from engaging in substantial
      gainful activity.

707 F.2d 162, 165 (5th Cir. 1983)           (citations omitted).      See also

Mays v. Bowen, 837 F.2d 1362, 1364 (5th Cir. 1988) i Shearer v.

Astrue, 2008 WL 5136949, at *3, No. 4:07-CV-552-A (N.D. Tex. Dec.

5, 2008).

      Essential to Commissioner's decision and the court1s

analysis is the five-step-sequential-evaluation process that the

ALJ was charged with employing in reaching his decision, 20

C.F.R.   §   416.920, which, stated briefly, is as follows:            First,

the claimant must not be presently working at any substantial

gainful activity as defined in the regulations.              Second, the

claimant must have an impairment or combination of impairments

that is severe.        Third, the impairment or combination of

impairments must meet or equal an impairment listed in the

appendix to the regulations.          Fourth, the impairment or

impairments must prevent the claimant from returning to past

relevant work.     And fifth, the impairment must prevent the

claimant from doing any work, considering the claimant's residual




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functional capacity, age, education, and past work experience.

See Perez, 415 F.3d at 461.

      At steps one through four, the burden of proof was upon

plaintiff to show she was disabled.          Id.; Crowley v. Apfel, 197

F.3d 194, 198 (5th Cir. 1999).         If plaintiff satisfies that

burden, the burden shifted to the Commissioner to show that there

is other gainful employment plaintiff was capable of performing

despite her existing impairments.          Perez, 415 F.3d at 461.         "Once

the Commissioner makes this showing, the burden shifts back to

the claimant to rebut this finding."           Id.    (internal quotation

marks and citation omitted) .

      As the ALJ correctly observed, "[b]efore considering step

four of the sequential-evaluation process,             [the ALJ] must first

determine the claimant's residual functional capacity" which is

 "[a]n individual's.          ability to do physical and mental work

activities on a sustained basis despite limitations from their

impairments."     Tr. at 18-19.      See Perez, 415 F.3d at 461.         "The

claimant's RFC is used at both steps four and five of the

sequential analysis: at the fourth step to determine if the

claimant can still do his past relevant work, and at the fifth

step to determine whether the claimant can adjust to any other



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type of work."              Id. at 462.            The RFC is to be based on all

relevant evidence in the claimant's record.                                 Id.

B.        Discussion of Issues Presented by Plaintiff

          While the magistrate judge chose not to discuss all the

issues presented by plaintiff in her brief, the court has

concluded that an orderly disposition of this action requires a

separate treatment of each of the issues.

          1.       The Severe Impairment/Stone Issue

          Plaintiff contends under her second issue that the ALJ did

not apply the Stone standard in the ALJ's second-step-severe-

impairment evaluation.                   The magistrate judge agreed by a proposed

finding that the ALJ failed to apply Stone's construction of 20

C.F.R.         §   404.1520(c).2         FC&R at 10.

          In Stone, the Fifth Circuit concluded that a proper

construction of the regulation is that "an impairment can be




     220 C.F.R. § 404. 1520(c) reads as follows:

                  (c ) You must have a severe impairment. If you do not have any impairment or
          combination of impairments which significantly limits your physical or mental ability to
          do basic work activities, we will find that you do not have a severe impairment and are,
          therefore, not disabled. We will not consider your age, education, and work experience.
          However, it is possible for you to have a period of disability for a time in the past even
          though you do not now have a severe impairment.

The comparable regulation applicable to Title XVI claims is 20 C.F.R. § 416.920(c), which is worded
identically to 20 C.F.R. § 404. 1520(c) except for the omission in § 416.920(c) of the final sentence of
§ 404.1520(c). The court considers that Stone is applicable to both sections 404.1520(c) and 416.920( c).

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 considered as not severe only if it is a slight abnormality

having such minimal effect on the individual that it would not be

expected to interfere with the individual's ability to work,

 irrespective of age, education or work experience."             Stone, 752

F.2d at 1101 (internal quotation marks and brackets omitted) .

Stone established the Fifth Circuit rule that:

       [W]here the disposition has been on the basis of
      nonseverity, we will in the future assume that the ALJ
      and Appeals Council have applied an incorrect standard
      to the severity requirement unless the correct standard
      is set forth by reference to this opinion or another of
      the same effect, or by an express statement that the
      construction we give to 20 C.F.R. § 404.1520(c) (1984)
      is used. Unless the correct standard is used, the claim
      must be remanded to the Secretary for reconsideration.

Id. at 1106.

      The court agrees with Commissioner that the analysis of the

ALJ is consistent with Stone, and that the wording of the ALJ's

opinion makes clear that the ALJ correctly applied the Stone

standard.

      In describing the evaluation method he was using at step

two, the ALJ explained:

      At step two, I must determine whether the claimant has
      a medically determinable impairment that is "severe" or
      a combination of impairments that is "severe."    (20
      C.F.R. 416.920(c))   The Fifth Circuit in Stone v.
      Heckler, 752 F.2d 1099 (5th Cir. 1985) and Estran v.
      Heckler, 745 F. 2d 340 (5th Circ. [sic] 1984) stated
      that "an impairment can be considered as not severe

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       only if it is a slight abnormality which has such a
       minimal effect on the individual that it would not be
       expected to interfere with the individual's ability to
       work irrespective of age, education, or work
       experience." An impairment or combination of
       impairments is "severe" within the meaning of the
       regulations if it significantly limits an individual's
       ability to perform basic work activities. An
       impairment or combination of impairments is "not
       severe" when medical and other evidence establish only
       a slight abnormality or a combination of slight
       abnormalities that would have no more than a minimal
       effect on an individual's ability to work.

 Tr. at 18.

       The ALJ could not have made it any clearer that he

 understood the Stone standard of severe impairment, and was

 giving it effect.      The mere fact that the ALJ went on to

 elaborate on factors that can, or should, be considered in making

 the severe impairment determination does not detract in the

 slightest from his clear statement of his understanding of the

 Stone standard.

       If there otherwise were any uncertainty about the technique

 used by the ALJ in reaching his finding that plaintiff's mental

 impairment in the form of a bipolar disorder was her only severe

 impairment, it would be put to rest by the explanation the ALJ

 gave for that finding:

       The claimant has an impairment which meets the standard
       given by the Fifth Circuit in Stone v. Heckler, 752
       F.2d 1099 (5th Cir. 1985) and Estran v. Heckler, 745

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         F.2d 340 (5th Circ. [sic] 1984) as it is more than "a
         slight abnormality which has such a minimal effect on
         the individual that it would not be expected to
         interfere with the individual's ability to work
         irrespective of age, education, or work experience. II

 Id. at 19.      Thus, the ALJ expressly stated that he applied the

Stone standard in evaluating the severity of plaintiff's

 impairments; and, a reasonable inference to be drawn from the

ALJ's opinion is that after the ALJ considered all plaintiff's

claimed impairments he found that plaintiff's bipolar disorder

was the only impairment that met the standard.

         Nor can a reasonable argument be made that the ALJ failed to

give appropriate consideration to plaintiff's headaches and ADHD

at step two.       The ALJ said that   II   [he had] considered the complete

medical history consistent with 20 C.F.R.             §   416.912(d)."          Tr. at

17.      He also said that his conclusion of nondisability was

 II   [a]fter careful consideration of all the evidence. II               Id.

Neither plaintiff nor the magistrate judge has called the court's

attention to anything that would cause the court to doubt the

truthfulness of those statements.            Moreover, the ALJ's opinion

affirmatively shows that he considered plaintiff's headaches and

ADHD.

         The ALJ's discussion of his step three analysis makes

specific references to plaintiff's history of, and treatment for,

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 ADHD, Tr. at 20-21.               And, the ALJ took note of plaintiff's

 complaints of headaches daily, id. at 20, the statement of

 plaintiff that when she overdosed on Tylenol in 2004 she was not

 attempting to harm herself but was trying to relieve her

 headache, id. at 21, and her hearing testimony concerning her

 headaches, id. at 25.                 The ALJ's opinion shows that the ALJ

 considered plaintiff's history of ADHD and headaches in all his

 evaluations, including his step two evaluation.                                   There is no

 merit to plaintiff's arguments that the ALJ failed to properly

 analyze the severity of her headache and ADHD impairments.                                          His

 opinion indicates that he did so at each step of the evaluation

 process.        The record does not support plaintiff's argument that

 she conclusively established that her alleged headache and ADHD

 impairments were severe.

        For the reasons given under this sub-subheading, the court

must reject the magistrate judge's proposed findings and

 conclusions in the FC&R.                   And, for the same reasons, the court

 concludes that the points plaintiff makes under her second issue

are without merit. 3


   3The court has not been required to decide whether a failure, if there had been one, of the AU
properly to apply the Stone standard at step two would have required a reversal and remand, bearing in
mind that the ALJ did not decide the case at step two but went through steps three, four, and five in his
analysis before reaching a decision. However, the court's tentative conclusion is that the Commissioner's
                                                                                              (continued ... )

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        2.     The Court Now Considers the Remaining Issues
               Presented by Plaintiff

                (a)    The First Issue

        Plaintiff's first issue is that her mental impairment meets

the requirement of listing 12.04C.2., with the consequence that

she should have been found disabled at step three.                              Her reference

in this issue to "mental impairment" is, according to her

argument, to the combination of her alleged impairments of major

depression, bipolar disorder, and ADHD.

        In Sullivan v. Zebley, the Supreme Court provided the

following explanations pertinent to plaintiff's first issue:

            The listings set out at 20 CFR pt. 404, subpt. P,
       App. 1 (pt. A) (1989), are descriptions of various
       physical and mental illnesses and abnormalities, most
       of which are categorized by the body system they
       affect.  Each impairment is defined in terms of several
       specific medical signs, symptoms, or laboratory test
       results.  For a claimant to show that his impairment
       matches a listing, it must meet all of the specified
       medical criteria. An impairment that manifests only
       some of those criteria, no matter how severely, does
       not qualify.



   y .. continued)
decision should be affirmed even if there had been such a failure. See Jones v. Bowen, 829 F.2d 524,
526 n.l (5th Cir. 1987) (per curiam) (rejecting the claimant's argument concerning Stone because the
ALJ proceeded through steps four and five of the analysis); Chaparro v. Bowen, 815 F.2d 1008, 1011
(5th Cir. 1987) (per curiam); Noble v. Astrue, No. 4:09-CV-545-A, 2011 WL 2330972, at *3, *6-7 (N.D.
Tex. June 14,2011); Blessing-Martinez v. Astrue, No. 4:09-CV-535-A, 2011 WL 1297550, at *1-2 (N.D.
Tex. Apr. 5,2011); Stone v. Astrue, No. 4:08-CV-598-A, 2010 WL 2164414, at *2-3 (N.D. Tex. May 27,
2010). Unpublished opinions of the Fifth Circuit that are instructive are LeBlanc v. Chater, No. 95-
60547,83 F.3d 419, 1996 WL 197501, at *2 (5th Cir. Mar. 21, 1996); Nicholson v. Massanari, No. 00-
31370,254 F.3d 1082,2011 WL 564157, at *1 (5th Cir. May 18,2001).

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            For a claimant to qualify for benefits by showing
       that his unlisted impairment or combination of
                                                I


       impairments is II equivalent II to a listed impairment he
                       I                                                         I


       must present medical findings equal in severity to all
       the criteria for the one most similar listed
       impairment.

493 U.S. 521   1   529-31 (1989)         (emphasis in original       I    footnotes

omitted) .

       Plaintiff's contention is that the record required the ALJ

to find that her mental impairment met the following listing

12.04C.2. criteria:

       C.   Medically documented history of a chronic
       affective disorder of at least 2 years' duration that
       has caused more than a minimal limitation of ability to
       do basic work activities with symptoms or signs
                                         I


       currently attenuated by medication or psychosocial
       support and ...
               I


       2.   A residual disease process that has resulted in
       such marginal adjustment that even a minimal increase
       in mental demands or change in the environment would be
       predicted to cause the individual to decompensate ...

Pl. 's Br. at 3 (quoting 20 C.F.R. pt. 404 1 subpt.                      PI   App. 11

§   12.04C.2.).

       The court concludes that          l   for the reasons given by

Commissioner in his brief         l   Comm'r Br. at 4-9       1   plaintiff has not

satisfied her burden to establish that she had a mental

impairment that meets listing 12.04C.2'1 and that there is

substantial evidence supporting the ALJ's finding that plaintiff

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 "does not have an impairment or combination of impairments that

 meets or medically equals one of the listed impairments in 20

 C.F.R. Part 404, Subpart P, Appendix I."             Tr. at 19.

       Plaintiff seems to be of the impression that the mere

 mention of her mental impairment conditions in the medical

 records is enough to satisfy the listing.             The Fifth Circuit has

 rejected that line of reasoning.          See Hames v. Heckler, 707 F.2d

 at 165.    There is substantial evidence to support the conclusion

 that plaintiff's impairments, whether considered alone or in

 combination, did not meet or equal the standard of severity

 required by listing 12.04C.2.        The ALJ's thorough discussion

 explaining why he did not find a listed impairment at step three

 demonstrates that he made an informed and proper evaluation at

 that step, and that the finding he made has ample support in the

 record.

       Therefore, the court concludes that plaintiff's arguments

 under her first issue are without merit.

             (b)   The Third Issue

       Plaintiff's argument under her third issue that the ALJ

 failed properly to consider record evidence pertaining to her

 medication side effects and her credibility and that such failure

 led to an incomplete RFC assessment is without merit.                 As the

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 court has noted in the discussion under the heading "The Severe

 Impairment/Stone Issue," the opinion of the ALJ affirmatively

 demonstrates that the ALJ carefully considered all of the record

 evidence in his evaluations.         Supra at 14.     That necessarily

 includes whatever evidence is in the record bearing on

 plaintiff's medication side effects and her credibility.                The ALJ

 explained in his opinion that his finding as to plaintiff's RFC

 was reached only" [alfter careful consideration of the entire

 record."    Tr. at 24.     The court has no reason to doubt that he

 did so; and, the text of his opinion confirms that he did.

             (c)   The Fourth Issue

       Under her fourth issue, plaintiff complains of the ALJ's RFC

 determination.        The court concludes that plaintiff's argument in

 support of this issue is without merit.

       The ALJ made the following RFC findings:

            After careful consideration of the entire record,
       I find that the claimant has the residual functional
       capacity to perform a full range of work at all
       exertional levels but with the following nonexertional
       limitations: due to the claimant's mental impairment,
       including neurovegetative symptoms of that impairment,
       the claimant has moderate limitations, but can still
       function satisfactorily, in her ability to interact
       appropriately with the public, supervisors, and co-
       workers; respond appropriately to work pressures in a
       usual work setting; and respond to changes in a routine
       work setting. The claimant has serious limitations,
       and her functioning is severely limited but not

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       precluded, for her ability to understand, remember, and
       carry out detailed job instructions; and make judgments
       on simple work-related decisions.  The claimant has
       mild limitations, but ordinarily functions well, in her
       ability to understand, remember, and carry out short
       simple instructions.

 Tr. at 24.

       In addition to prefacing his RFC findings with the statement

 that they were made" [a]fter careful consideration of the entire

 record," id., the ALJ explained, after stating his findings, that

 "[i]n making this finding,      I have considered all symptoms and the

 extent to which these symptoms can reasonably be accepted as

 consistent with the objective medical evidence and other

 evidence, based on the requirements of 20 C.F.R.           §   416.929 and

 SSRs 96-4p and 96-7p," and "opinion evidence in accordance with

 the requirements of 20 C.F.R.       §   416.927 and SSRs 96-2p, 96-Sp,

 96-6p and 06-3p," id.      Nothing has been called to the court1s

 attention that would persuade the court that the ALJ did not

 consider, as he indicated in his opinion he did, everything he

 should have considered in making his RFC determination.              There is

 substantial evidence in the record to support that determination.

              (d)   The Fifth, and Final, Issue

       Under her fifth issue, plaintiff argues that the ALJ erred

 in his finding at step five that "a significant number of jobs



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existed in the national economy that Plaintiff could perform. 114

 Pl. 's Br. at 16.           The ALJ's step five finding was as follows:

             Considering the claimant's age, education, work
        experience, and residual functional capacity, there are
        jobs that exist in significant numbers in the national
        economy that the claimant can perform.  (20 C.F.R.
        §§ 416.960(c) and 416.966)


Tr. at 25.         After making that finding, the ALJ explained his

reasons for the finding.                   His reasoning comports with the record

and applicable law.               The hypothetical question posed by the ALJ

to the vocational expert properly incorporated all of plaintiff's

limitations supported by the record and recognized by the ALJ.

That is all that was required.                       See Masterson v. Barnhart, 309

F.3d 267, 273 (5th Cir. 2002).                       The vocational expert responded

that an individual described in the hypothetical question could

perform work that existed in significant numbers in the national

economy, thus providing substantial evidence to support the ALJ's

determination.            Tr. at 25-26.

        As previously noted, once Commissioner meets his step five

burden, the claimant has the burden to prove that she in fact

cannot perform the work to which the vocational expert made

reference.         Supra at 10.            See also Shelders v. Sullivan, 914 F.2d




   4The ALJ found at step four that plaintiff had no past relevant work. Tr. at 25.

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 614, 618 (5th Cir. 1990)      (saying that if "the Secretary fulfills

his burden of pointing out potential alternative employment, the

burden then shifts back to the claimant to prove that he is

unable to perform the alternate work"          (internal quotation marks

and citation omitted)).       Plaintiff offered no evidence that she

was unable to perform the alternate work identified by the

vocational expert.

      While the ALJ should consider on a function-by-function

basis the capacity of plaintiff to perform the alternate work on

a regular and continuing basis, which he presumably did, there is

no requirement that he include in his written opinion a function-

by-function analysis.       As he was required to do, the ALJ

explained how the evidence supported his conclusions about

plaintiff's limitations, and discussed her ability to perform

 sustained work activities.      Tr. at 20-25.

      Substantial evidence in the record supports the ALJ's step

 five finding.     Therefore, the court concludes that plaintiff's

argument in support of her fifth issue is without merit.

C.    Conclusion

      For the reasons given above, the court concludes that the

magistrate judge's recommendation of reversal and remand should

be rejected.     The court disapproves of all proposed findings and

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conclusions of the magistrate judge that are inconsistent with

this memorandum opinion.        The court concludes that all arguments

made by plaintiff in support of the issues she presents in her

brief are without merit.

      Having concluded that the decision of Commissioner is

supported by substantial evidence on the record as a whole, and

that Commissioner applied the proper legal standards, the court

is affirming the decision of Commissioner that plaintiff was not

disabled under section 1614(a) (3) (A) of the Social Security Act.

                                      III.

                                      Order

      Therefore,

      The court ORDERS that the decision of Commissioner that

plaintiff was not disabled under section 1614(a) (3) (A) of the

Social Security Act be, and is hereby,                  aff~.r
                                                          ,..-/
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       SIGNED June ~() 2011.
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